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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


 Criminal Action No. 1:14-cr-00231-WJM-15

 UNITED STATES OF AMERICA,
      Plaintiff,

 v.


 1. RICKY GARRISON,
 4. FRANCISCO AGUILAR,
 9. ARCHIE POOLE, and
 15. ROBERT PAINTER,
       Defendants.


        DEFENDANT ROBERT PAINTER’S MOTION TO SUPPRESS WIRETAP
             EVIDENCE, AND FOR SPECIFIC WIRETAP DISCOVERY


        COMES NOW, defendant Robert Painter, by and through his undersigned counsel, and in

 accordance with the Court’s April 6, 2016 order (Doc. 898) files this motion to suppress the

 wiretap evidence in this case and also for specific discovery as delineated below:

 I. BACKGROUND

        The indictment charges 71 counts of controlled substance violations against 16

 defendants. Mr. Painter is the 15th defendant. All but four defendants have entered into plea

 agreements with the prosecution.

        Those four defendants are: Number 1 Ricky Garrison; Number 4 Francisco Aguilar;




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 Number 9 Archie Poole; and Number 15 Mr. Painter.1

          The prosecution obtained 13 wiretap orders when investigating this case. The first order

 tapped Target Telephone 1 (“TT1”), which was a phone used by one Francisco Ramirez.2 About

 three weeks later, the TT1 wiretap order was used as a basis to obtain the second wiretap order,

 and so on in cumulative fashion for subsequent wiretap orders. Accordingly, this motion

 addresses the TT1 order as the starting point of all the wiretap evidence.

          Before Mr. Garrison’s first set of lawyers withdrew, they moved for wiretap-related

 discovery. By order dated December 3, 2015 (Doc. 706), the Court denied their motion without

 prejudice. In part, this motion also follows up on Doc. 706.

 II. FACIAL CHALLENGE

           As discussed on page 8 of Doc. 706, a facial wiretap challenge argues that the

 information before the judge who issued the wiretap order was, in reality, insufficient to justify

 the wiretap order. This motion incorporates the legal authority and principles discussed in that

 portion of Doc. 706.




 1
   Doc. 898 expressed a preference for one wiretap motion on behalf of all remaining defendants.
 Undersigned counsel for Mr. Painter has conferred with the lawyers for the other three remaining
 defendants on that point. None of them are in a position to draft a motion on behalf of all
 remaining defendants. As discussed in Mr. Painter’s Request for Clarification Regarding April
 8, 2016 Order, which Request is being filed with this motion (and is incorporated here by
 reference), as the 15th listed defendant Mr. Painter’s interests differ from the interests of
 defendants 1, 4, and 9, and therefore Mr. Painter is unable to file a motion on their behalf.
 2
     Mr. Ramirez later became a defendant in related case 14-cr-00231-WJM.
                                                   2
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        A. The application is ostensibly addressed to the Gangster Disciples gang as a
           “tight-knit” Target Organization, but the supporting affidavit shows the real
           target was people unrelated to the Gangster Disciples who were providing drugs
           to Duke Surenos gang member Francisco Ramirez.

        The TT1 application identified the “Target Organization” for the wiretap as the

 Gangster Disciples gang. WT 000002 ¶2.3 The application purports to seek an order to

 obtain more information about the alleged criminal activities of the Gangster Disciples as

 the Target Organization. WT 000095. Accordingly, the wiretap order which granted the

 application named the Gangster Disciples as the Target Organization for the wiretap. WT

 000100 ¶a.

        The October 2013 affidavit in support of the application described the Gangster

 Disciples as an African-American street gang engaged in drug trafficking and related

 violent crimes. The Gangster Disciples had originated in Chicago but spread to other

 places including Colorado. WT 000027 ¶¶15-16. The TT1 wiretap was sought as part of

 an investigation of crimes allegedly committed by the Gangster Disciples in Colorado.

 WT 000028 ¶19. The avowed purpose of the TT1 wiretap was to further the investigation

 of those Colorado crimes. WT 000028 ¶19; WT 000098 (Conclusion).4 The wiretap was needed

 in part because “the Gangster Disciples and their associates are a tight knit organization.” WT

 000080 ¶143.



 3
  The wiretap application documents were submitted to the Court on December 3, 2015. See
 Doc. 701. This motion cites to those documents in the shortened form of “WT” and Bates
 number.
 4
   The Gangster Disciples had been investigated in Colorado in 2012, but when the TT1
 application was submitted, the affidavit for the application conceded that no link had been drawn
 between the 2012 investigation and the 2013 investigation for which the TT1 wiretap was
 sought. WT 000027 ¶¶17-18. Similarly, the affidavit conceded that no link had been drawn
 between the 2013 investigation for which the TT1 wiretap was sought and allegations that
 Gangster Disciples sold heroin in Denver’s Civic Center Park. WT 000031 ¶30.
                                                 3
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        The TT1 affidavit identified seven specific people as alleged “members and/or associates

 of the Gangster Disciples.” WT 000023 ¶7(a). Mr. Painter is not one of them. He does not

 appear in the TT1 affidavit. As alleged in subsequent prosecution wiretap application affidavits,

 Mr. Painter was a “drug customer” of Mr. Garrison. WT 000271; WT 000433.

        The first of the seven people identified by the TT1 affidavit as members or

 associates of the Gangster Disciples was the aforementioned Francisco Ramirez. WT

 000023 ¶7(a). As the user of the targeted telephone, Mr. Ramirez was the focus of the

 affidavit when viewed as a whole.5 But Mr. Ramirez was not a Gangster Disciple. Rather,

 as expressly averred in the TT1 supporting affidavit itself, he was a known member of the

 Duke Surenos gang. WT 000030 ¶25; WT 000073 ¶130.

        The affidavit alleged that Mr. Ramirez was a drug supplier for Mr. Garrison, and

 that Mr. Garrison was a “suspected” member of the Gangster Disciples. WT 000021 ¶6(a);

 WT 000032 ¶31; WT 000034 ¶38; WT 000073 ¶130. The affidavit also alleged that Mr.

 Ramirez and Mr. Garrison were engaged in joint activity to obtain drugs. WT 000033

 ¶¶34-36; WT 000052 ¶83. The affidavit does not indicate that the Duke Surenos gang was

 running a joint operation with the Gangster Disciples; the affidavit indicates that Mr.

 Ramirez and Mr. Garrison sometimes worked with each other to the apparent mutual

 advantage of their individual drug-dealing activities.




 5
   See, e.g., WT 000021 ¶6(a) (Mr. Ramirez is the person who used the targeted phone); WT
 000025-26 ¶¶11-12 (Mr. Ramirez was the named interceptee for wiretap orders obtained in 2012,
 in an investigation called Operation Red Dawn which did not include Mr. Garrison, see WT
 000091-2 ¶¶168-169); WT 000035-44, ¶¶40-68 (describing undercover officer’s drug purchase
 from Mr. Ramirez, and related circumstances); WT 000045 ¶¶69-70 (describing Mr. Ramirez’s
 use of telephones for dealing drugs); WT 000045-50, ¶¶71-81 (describing additional controlled
 purchase from Mr. Ramirez).
                                                  4
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        Moreover, the TT1 affidavit did not allege that five of the remaining six

 individually identified “members and/or associates of the Gangster Disciples” – Jesus

 Molina-Villarreal, Salvador Marruffo, Javier Segura-Cisneros, an unknown drug courier

 for Mr. Molina-Villarreal,6 and Glen Walls – were members or associates of the Gangster

 Disciples. WT 000022-23. As far as the specific averments in the affidavit showed, those

 people were independent drug suppliers to Ramirez (except that two of those five people

 were couriers for one of the suppliers), and they had no association with the Gangster

 Disciples. WT 000022-23; WT 000032 ¶¶32-33; WT 000052-53 ¶¶84-85; WT 000059

 ¶96.

        That leaves Ricky Garrison. The affidavit repeatedly refers to him as a “suspected”

 member of the Gangster Disciples. WT 000021 ¶6(a); WT 000028 ¶20; WT 000034 ¶38; WT

 000073 ¶130. Moreover, the government’s investigation indicates that Mr. Garrison became

 estranged from the Gangster Disciples about the same time as, or shortly after, the TT1

 application was filed in late-October 2013. See Exhibit 1, G.J. Trans. 06/03/14, p. 92, lines 1-6

 (which will be filed independent of this pleading, with the request for the Exhibit to be filed as a

 Restriction Level 1 document).

        There is no indication that the TT1 affidavit was corrected to reflect Mr. Garrison’s

 estrangement from the Gangster Disciples.7




 6
  This person was subsequently identified as Ivan Dominguez-Quezada. Mr. Dominguez-
 Quezada is a defendant in two other cases, 14-cr-230 and 15-cr-272. There is no indication that
 Mr. Dominguez-Quezada was a member of the Gangster Disciples.
 7
  The affidavit alleges that Mr. Garrison and/or Mr. Ramirez had contacts in January and August
 2013 with a “documented Gangster Disciple” named Shauntay Craig and a “suspected” Gangster
 Disciple named Quentin Williams. WT 000030-31 ¶¶25-28; WT 000056-57 ¶91; WT000058
 ¶95.
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        Review of the prior cited portions of the affidavit, and of the affidavit as a whole, shows

 that the affidavit does not describe an investigation into a “tight-knit” Gangster Disciples “Target

 Organization.” Rather, the investigation revealed by the substantive allegations in the affidavit

 was a rather free-wheeling inquiry into the individual drug-related activities of Mr. Ramirez and

 Mr. Garrison, with a focus on Mr. Ramirez’s drug sources. Because Mr. Ramirez was a Duke

 Sureno, and his sources had no apparent connection with the Gangster Disciples, tapping Mr.

 Ramirez’s phone moved the investigation further away from the Gangster Disciples.

 Accordingly, the wiretap order fails on its face as an order against the Gangster Disciples as the

 purported Target Organization. The order improperly approved what amounted to a fishing

 expedition into any drug sources for Mr. Ramirez.

 III. DISCOVERY REQUESTS

        The Court’s December 3, 2015 order recognized that discovery requests may be

 appropriate for a Franks challenge. The Court held that “the defendant must offer a specific,

 articulable basis for believing that the Government possesses particular evidence or information,

 not otherwise available to the defendant, that would support a claim that a warrant affiant

 intentionally or recklessly misstated or omitted material information in the relevant warrant

 application(s).” Doc. 706, at p. 16. The Court further held that if a defendant “can formulate

 much more specific, supported, and focused requests for information the Government is likely to

 have and which would potentially support a Franks challenge, Garrison should request such

 information from the Government and, if the Government refuses to produce it, may file a new,

 tailored discovery motion on these limited grounds.” Doc. 706, at p. 17. Mr. Painter has two

 specific requests under this portion of the December 3, 2015 order.




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        1. Documents relating to CHS-1.

        The supporting affidavit for the TT1 application relied heavily on information provided

 by Confidential Human Source (CHS) number 1. The information provided by CHS-1 was so

 important that the application could not have been filed without it, because CHS-1 provided

 information to the investigating officers about almost every significant topic in the affidavit,

 including: drug-dealing by Mr. Ramirez, WT 000035 ¶40, WT 000039 ¶53, & WT 000045

 ¶¶69-70; Mr. Ramirez’s drug sources, WT 000052-3 ¶¶84-85; Mr. Ramirez’s drug-related

 interactions with Mr. Garrison, WT 000033 ¶¶34-36, WT 000051-2 ¶83, WT 000057 ¶93; the

 alleged stymied robbery of one of Mr. Ramirez’s drug sources (Mr. Molina-Villarreal) by Mr.

 Ramirez, Mr. Garrison, Shauntay Craig, and Quentin Williams, WT 000030-31 ¶28; and Mr.

 Garrison’s alleged murder of (or arrangements to murder) a drug-case witness, WT 000029 ¶22.

 In one place, the affidavit stated: “To the best of your affiant’s knowledge, at no time has CHS-

 1’s information been proven to be unreliable or untruthful.” WT 000074 ¶131. However, the

 reliability or truthfulness of CHS-1’s information is called into question by two other places in

 the same affidavit.

        In the first of those two other places, the affidavit stated that the police had found no

 documentation to corroborate CHS-1’s allegation that Mr. Ramirez and Mr. Garrison had

 committed multiple robberies of drug dealers before January 2013. WT 000031 ¶29. Perhaps

 there was no such documentation because CHS-1 was wrong about this allegation.

        This possibility is supported by the second other place in the affidavit. There, CHS-1

 told the police that Mr. Ramirez had registered his TT1 phone under a certain non-existent name

 and address. However, the police learned the phone had actually been registered to an

 apparently real person and address, which was different from the name and address provided by


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 CHS-1. WT 000045 ¶70. The police did not know if Mr. Ramirez had misinformed CHS-1

 about this point, or if CHS-1 had just been wrong about it. Id.

         Accordingly, despite the TT1 affidavit’s assertion that CHS-1’s information was always

 accurate and reliable, two other parts of the affidavit question the reliability or truthfulness of

 information from CHS-1. Because CHS-1 could have been wrong about two points in the

 affidavit, the possibility exists that CHS-1 also was wrong about other points in it. Thus there is

 a good faith basis for Franks-based discovery about all the information which CHS-1 provided in

 this investigation (or at least for the TT1 application affidavit).

         Accordingly, Mr. Painter requests disclosure of information about CHS-1 from the law

 enforcement and prosecution agencies involved in this investigation. He would agree to a

 reasonable protective order regarding that information. (For instance, he would agree to a

 protective order which would allow him to review but not possess any documents produced in

 response to this motion. He also would agree that documents produced through this motion

 would not be attached to any public filing without a Level 2 Restriction.)

         2. 15-Day Reports, and other information in the wiretap case court files.

         The TT1 wiretap order included a provision requiring the prosecution to provide reports

 every 15 days to “show[ ] what progress has been made toward achievement of the authorized

 objective and the need for continued interception.” WT 000107. These “15-day reports” have

 not been provided in discovery. Upon information and belief, Mr. Garrison’s first set of lawyers

 discussed these documents with the prosecution; and while the prosecution indicated it was

 inclined to produce them, the prosecution has not done so. Mr. Painter requests that they be

 produced.




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        Mr. Painter also requests any other contents of the wiretap case court files not already

 produced. See U.S. v. Oregon-Cortez, 244 F.Supp.2d 1167, 1172 (D.Colo. 2003) (the

 information available to the judge who issued the wiretap orders is not limited to the wiretap

 application, supporting affidavit, and order; it also includes “the ‘testimonial or documentary

 evidence’ introduced at the in camera proceedings before the issuing judge”). The case number

 for the wiretap applications is 13-WT-6-WYD. Mr. Painter requests production of the full

 contents of that case file. Again, he would agree to a reasonable protective order.

        WHEREFORE, Robert Painter moves to suppress the wiretap evidence, and he also

 requests the delineated discovery items.

 Dated: April 13, 2016

                                                      Respectfully submitted,

                                                      s/ Patrick J. Burke
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                               CERTIFICATE OF SERVICE

 I hereby certify that on this 13th day of April 2016, I electronically filed the foregoing
 DEFENDANT ROBERT PAINTER’S MOTION TO SUPPRESS WIRETAP EVIDENCE,
 AND FOR SPECIFIC WIRETAP DISCOVERY, with the Clerk of Court using the CM/ECF
 system, which will send electronic notification of such filing to the following:

 Zachary Phillips, Zachary.phillips@usdoj.gov
 Assistant United States Attorney

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                                                        s/ Jennifer J. Feldman




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